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              FINRA Dispute Resolution Services
                     Arbitrator’s Guide




  This Guide contains important information about FINRA Dispute Resolution Services’
  forum, policies and procedures. For additional information, please go to our website:
  www.finra.org or call one of our regional offices.

  FINRA Dispute Resolution Services attempts to present information to readers in a
  format that is easily understandable. However, please be aware that, in case of any
  misunderstanding concerning a rule in the Customer or Industry Code of Arbitration
  Procedure, the rule language prevails.


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       PART THREE: THE ARBITRATOR’S ROLE—ETHICAL
     CONSIDERATIONS, DUTY TO DISCLOSE, CHALLENGES AND
                     DISQUALIFICATION

  The Arbitrator’s Role: Ethical Considerations

  FINRA encourages arbitrators to regularly review the Code of Ethics for Arbitrators in
  Commercial Disputes (Code of Ethics) to refresh themselves about their duties and
  ethical responsibilities. The information contained in this Guide is a brief reminder of the
  arbitrators’ ethical duties; it is neither an exhaustive list nor a substitute for the Code of
  Ethics or the FINRA Codes. In addition to the Code of Ethics, arbitrators should also be
  mindful of any ethical considerations associated with their respective professions.

  Neutrality

  Arbitrators must be impartial and neutral throughout a proceeding. Impartiality extends
  to parties, counsel, agents, witnesses, co-panelists and even the type of case involved.
  Arbitrators must be impartial in both appearance and in fact. Arbitrators are viewed by
  parties in an arbitration case much as a judge would be viewed in a court of law. In
  some ways, arbitrators have greater power than a judge (e.g., except for limited
  reasons, arbitration awards cannot be overturned). Therefore, it is particularly important
  in arbitration that the forum be fair and be perceived to be fair.

  Avoiding Potential Conflicts

  Upon accepting an appointment, arbitrators should avoid entering into any financial,
  business or other relationship that is likely to affect impartiality or might reasonably
  create an appearance of partiality or bias. For example, an arbitrator should not accept
  any engagement involving a party while an arbitration case is pending, nor do so for a
  reasonable period of time after the case concludes. Likewise, arbitrators should disclose
  previous cases for which they were retained that involved any party, counsel or witness
  in the current case.

  Ethical Reasons Not to Accept Appointment as an Arbitrator

  If an arbitrator has any doubt about whether he or she can be fair or impartial, the
  arbitrator should decline the appointment. For example, an arbitrator should refuse an
  appointment if the arbitrator has firmly held beliefs about the issue in dispute or about a
  named party to the dispute.

  A major goal of arbitration is the prompt resolution of disputes. Thus, in accordance with
  Canon I (b)(4) of the Code of Ethics, an arbitrator should accept appointment only if fully
  satisfied: “that he or she can be available to commence the arbitration in accordance


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  The Arbitrator’s Role: Duty to Disclose

  Arbitrators must be impartial in both appearance and in fact. For this reason, arbitrators
  submit detailed biographical information at the time they submit an application to join
  FINRA’s arbitrator roster. The information collected from the application is compiled to
  create an Arbitrator Disclosure Report (Disclosure Report). During the list selection
  process, the parties are given the opportunity to review the Disclosure Report of the
  arbitrators randomly listed for potential service. The Disclosure Report lists previous
  FINRA awards rendered by the arbitrator, and also lists the current cases to which the
  arbitrator is assigned. For your convenience, you may review a Sample Disclosure
  Report.

  In order to ensure that the arbitrators’ Disclosure Reports are accurate and up-to-date,
  FINRA will send the arbitrators their Disclosure Report each time they are appointed to
  a case. It is extremely important that arbitrators update their Disclosure Reports
  frequently.

  Arbitrators are strongly encouraged to update their Disclosure Reports online using the
  FINRA DR Portal. If you have already registered with the portal, please go to the DR
  Portal page and log in to make updates to your profile. If you have not registered and
  would like to receive a registration invitation, please send an email to Dispute
  Resolution Neutral Management to request an invitation. Please include "request portal
  invitation" in the subject line. You must use your unique invitation to register with the
  portal.

  Arbitrator disclosure is the cornerstone of FINRA arbitration, and the arbitrator’s duty to
  disclose is continuous and imperative. Disclosure includes any relationship, experience
  and background information that may affect—or even appear to affect—the arbitrator’s
  ability to be impartial and the parties’ belief that the arbitrator will be able to render a fair
  decision. When making disclosures, arbitrators should consider all aspects of their
  professional and personal lives and disclose all ties between the arbitrator, the parties
  and the matter in dispute, no matter how remote they may seem. This includes, but is
  not limited to, lawsuits (even non-investment related lawsuits); any publications (even if
  they appear only online); professional memberships; service on boards of directors; etc.
  If you need to think about whether a disclosure is appropriate, then it is: make the
  disclosure. Failure to disclose may result in vacated awards which undermine the
  efficiency and finality of our process. Failure to disclose may also result in removal from
  the roster.

  FINRA Rule 12405 requires arbitrators to disclose any direct or indirect financial or
  personal interest in the outcome of the arbitration, as well as any existing or past, direct
  or indirect, financial, business, professional, family, social or other relationships with any
  of the parties, representatives, witnesses or co-panelists. The duty to disclose is
  ongoing. Therefore, arbitrators are also required to continually make reasonable efforts
  to inform themselves of relationships and interests including changes in their or their

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